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 one or more of the Airbus Entities bought licenses allowing them to use Anaconda’s

 copyrighted and proprietary technology in connection with the Airbus Entities’

 software, products, and/or manufacturing, enabling them to bypass development that

 would have otherwise been required. The Airbus Entities stopped paying for those

 licenses, but they did not stop using Anaconda’s technology—to this day, the Airbus

 Entities’ software and products leverage Anaconda’s copyrighted and proprietary

 technology. Anaconda brings the present counterclaims to put an end to, and seek

 just compensation for, the Airbus Entities’ blatant and willful infringement of

 Anaconda’s rights.

       This is a straightforward case of copyright infringement of Anaconda’s

 valuable intellectual property. The Airbus Entities intentionally leveraged

 Anaconda’s technological innovations to improve their own products and gain

 market share by utilizing Anaconda’s AI-focused technology to enhance their own

 offerings without having to invest in the development and testing to ensure reliability

 of the technology. Although the Airbus Entities have received, and continue to

 receive, commercial benefits from Anaconda’s developments and intellectual

 property—including increased sales and unique product features without sacrificing

 quality and reliability—the Airbus Entities are refusing to pay a fair license for those

 same innovations.




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       Software developers, particularly in the data science, large language model,

 and AI fields, commonly rely on hundreds of different “packages” of open-source

 software, typically written in the Python or R programming languages, to build AI

 software applications, for example. Building a software application with packages

 in this manner is not unlike building a house—while it can save a lot of time to use

 component parts created by others, problems can arise when the different parts do

 not fit or are not compatible with each other. For instance, software packages may

 depend on other packages in the same way a roof depends on the walls of a house.

 Moreover, different versions of open-source packages may not be compatible with

 each other, particularly as the packages are modified and updated by different

 developers over time. So, in addition to confirming that all dependent packages are

 in place, a software developer must ensure that all packages used in a project are

 compatible with each other, similar to confirming through precise measurement that

 floorboards fit within a house’s frame. Because the number of packages used to

 build complex software are often voluminous, those dependencies can become

 extraordinarily complicated. Further complicating this exercise, packages are

 created, updated, and maintained by disparate and independent teams who may

 change the packages at any time and do not always test or otherwise ensure the

 compatibility of their packages with other packages commonly used by software

 developers. Managing these dependencies and compatibilities in a large project



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 often entails making many different choices among different packages that can be

 built together, and can become overwhelmingly burdensome for an individual

 developer.

       Anaconda solved this problem by building a software product called “conda,”

 which Anaconda makes available to customers under an open-source software

 license. “conda” is a “package manager” that has the ability to ensure the installation

 of all dependent software packages, and verify the compatibility of all software

 packages, when building a development platform. But the conda program can only

 perform these functions if it is given conda-compatible software packages—that is,

 software packages with code added to them that the conda software can read.

       Anyone can develop their own conda-compatible packages without paying

 Anaconda anything, and many companies do. But Anaconda recognized a need in

 the marketplace for someone to undertake the painstaking effort of creating conda-

 compatible versions of the open-source software packages most commonly used by

 data scientists and developers and keeping those packages updated and working

 reliably with each other as the disparate developers and maintainers of those

 packages make changes to the code. At extraordinary effort and expense, Anaconda

 wrote and has maintained over 8,000 (and counting) such conda-compatible

 packages. The “Anaconda Distribution,” which is at issue here and has been

 registered with the U.S. Copyright Office, includes hundreds of the most popular



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 conda-compatible packages. Anaconda provides a free license to individuals, small

 businesses, small non-profits, and researchers at accredited universities to access the

 conda-compatible packages Anaconda developed. But Anaconda requires large

 companies that use its conda-compatible packages—like the Airbus Entities—to pay

 a license fee to use Anaconda’s proprietary material for commercial purposes.

       Certain Airbus Entities previously entered into license agreements with

 Anaconda and benefitted from Anaconda’s developer tools and data science

 platforms, including the Anaconda Distribution and Anaconda’s conda-compatible

 packages. Under those license agreements, at least some of the Airbus Entities

 availed themselves of Anaconda’s technological innovations, used by over 45

 million users of conda worldwide, and used Anaconda’s proprietary material in

 connection with their own software and platforms. Other Airbus Entities took

 advantage of Anaconda’s technological innovations without entering a commercial

 license agreement contrary to the requirements of Anaconda’s Terms of Service, or

 by entering a license agreement but proceeding to exceed usage limits and/or mirror

 Anaconda’s proprietary material unlawfully.

       The license agreements between certain Airbus Entities and Anaconda

 expired, and the Airbus Entities failed to establish new licenses. The Airbus Entities

 could have chosen to develop their own conda-compatible software packages, but

 they did not. Instead, to this day, Anaconda has observed that computers associated



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 with one or more of the Airbus Entities continue to download and use Anaconda’s

 conda-compatible packages without permission and without payment. Each of

 Anaconda’s overtures to the Airbus Entities to establish a license have unfortunately

 been met with disregard. Instead of engaging with Anaconda to discuss a business

 solution, the Airbus Entities filed suit against Anaconda, seeking a declaratory

 judgment of noninfringement regarding Anaconda’s copyright protecting

 Anaconda’s unique technology.

       Anaconda seeks to bring an end to the Airbus Entities’ unlawful use and

 commercialization of Anaconda’s valuable copyrighted material.            Anaconda

 respectfully seeks an injunction, along with the other remedies described below, to

 stop the Airbus Entities’ improper and willful acts of copyright infringement.

                                        * * *

       Anaconda denies all allegations in Airbus Entities’ Complaint unless

 expressly admitted in the following paragraphs. Any admissions herein are for

 purposes of this matter only. Any factual allegation admitted below is admitted only

 as to the specific admitted facts, and not as to any purported conclusions,

 characterizations, implications, or speculations that might follow from the admitted

 facts. Anaconda does not respond to the unnumbered headings in the Complaint on

 pages 5, 8, 10, and 13, which appear to be an attempt to summarize paragraphs below

 those respective headings. Anaconda also reserves the right to amend or supplement



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 this Answer and raise additional defenses and/or counterclaims based on any

 additional facts or developments that become available or arise after the filing of this

 Answer.

                            NATURE OF THE ACTION

       1.     Anaconda admits that the Complaint purports to set forth an action

 under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, and under the

 copyright laws of the United States, 17 U.S.C. § 101, et seq.

       2.     Anaconda admits that the Airbus Entities seek a declaratory judgment

 that they have not infringed any valid copyright held by Anaconda, but Anaconda

 denies that any such relief is proper.

       3.     Anaconda admits that it sent a formal demand on May 20, 2024 to

 Airbus U.S. Space & Defense, Inc., Airbus Defense and Space, Inc., Airbus

 Helicopters, Inc., and Airbus DS Government Solutions, Inc., respectively,

 requesting each entity to cease and desist unauthorized use of tools and resources

 provided by Anaconda in violation of Anaconda’s Terms of Service and intellectual

 property rights. Anaconda admits that these letters included a reasonable demand

 for payment based on Airbus entities’ egregious misappropriation of Anaconda’s

 proprietary materials on a large scale without license or commercial agreement.

 Anaconda also admits that it sent a letter to both Airbus Helicopters, Inc. and Airbus

 U.S. Space & Defense, Inc. on January 16, 2025 (1) stating that these entities have



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 used, and continue to use, Anaconda’s products, including Anaconda’s proprietary

 repository, infringing Anaconda’s copyright and in violation of Anaconda’s Terms

 of Service; (2) proposing a three-year site license, which included the right to mirror

 the proprietary repository; and (3) indicating that if these companies are unwilling

 to accept that proposal, Anaconda would be forced to seek legal remedies for its

 breaches of contract and violations of Anaconda’s intellectual property rights. D.I.

 1, Ex. I. Anaconda denies the remaining allegations in paragraph 3.

       4.       Anaconda admits that it has obtained a copyright for a work titled

 “Anaconda Distribution and Associated Packages Release 2024.02-01,” registered

 with the U.S. Copyright Office as Registration No. TX-9-407-38.1 (the “Asserted

 Copyright”).

       5.       Anaconda admits that it has brought at least two lawsuits for, inter alia,

 infringement of the Asserted Copyright, one of which is still pending.               See

 Anaconda, Inc. v. Dell, Inc., 1:24-cv-01527 (W.D. Tex.) (case closed as of March

 18, 2025); Anaconda, Inc. v. Intel Corporation, 1:24-cv-00925 (D. Del.).

       6.       Anaconda admits that Anaconda’s Terms of Service released in 2020

 placed payment and commercial use restrictions on some of Anaconda’s public

 offerings, requiring non-government and non-educational entities with 200 or more

 employees to enter into a commercial license to use Anaconda’s proprietary

 material. Anaconda admits that it has sought relief from the legal system when



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 entities violate Anaconda’s commercial use restrictions and infringe the Asserted

 Copyright. Anaconda admits that it has sent letters to one or more of the Airbus

 Entities, including at least Airbus Defense and Space, Inc., Airbus DS Government

 Solutions, Inc., Airbus U.S. Space & Defense, Inc., and Airbus Helicopters, Inc.,

 notifying them of their violation of Anaconda’s Terms of Service and infringement

 of Anaconda’s intellectual property. Anaconda denies the remaining allegations in

 paragraph 6.

       7.       Anaconda admits that an actual, substantial, and immediate controversy

 of sufficient immediacy and reality exists between Anaconda and the Airbus Entities

 over at least one or more of the Airbus Entities’ infringement of Anaconda’s

 Asserted Copyright. Anaconda denies the remaining allegations in paragraph 7.

                                    JURISDICTION

       8.       Anaconda admits that this Court has subject matter jurisdiction

 pursuant to 28 U.S.C. §§ 1331 and 1338(a), and that this action arises under the

 copyright laws of the United States, Title 17 of the United States Code, but denies

 that Airbus Entities are entitled to any relief.

       9.       Anaconda admits that for purposes of this action only, this Court has

 personal jurisdiction over it.     Anaconda admits that Exhibit C is a copy of

 Anaconda’s March 31, 2024 Terms of Service, which speaks for itself. Anaconda




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 admits that this action arises out of and relates to the Airbus Entities’ use of the

 Anaconda Distribution in violation of Anaconda’s intellectual property rights.

                                      VENUE

       10.   Anaconda admits that for purposes of this action only, venue is proper

 pursuant to 28 U.S.C. § 1391(b).

       11.   Anaconda admits that for purposes of this action only, venue is proper

 pursuant to 28 U.S.C. § 1400(b).

                                     PARTIES

       12.   Anaconda lacks sufficient information to admit or deny the allegations

 of paragraph 12 and on that basis denies them.

       13.    Anaconda lacks sufficient information to admit or deny the allegations

 of paragraph 13 and on that basis denies them.

       14.   Anaconda lacks sufficient information to admit or deny the allegations

 of paragraph 14 and on that basis denies them.

       15.   Anaconda lacks sufficient information to admit or deny the allegations

 of paragraph 15 and on that basis denies them.

       16.    Anaconda lacks sufficient information to admit or deny the allegations

 of paragraph 16 and on that basis denies them.

       17.    Anaconda lacks sufficient information to admit or deny the allegations

 of paragraph 17 and on that basis denies them.



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       18.      Anaconda admits that for purposes of this Answer only, the phrase

 “Airbus Entities” refers to the companies identified in paragraphs 12–17 of the

 Complaint. Anaconda is without knowledge or information sufficient to form a

 belief as to the truth of the remaining allegations of paragraph 18 and therefore

 denies them.

       19.      Anaconda admits that Anaconda, Inc. is a corporation organized and

 existing under the laws of Delaware, with its principal place of business in Austin,

 Texas.

                            FACTUAL BACKGROUND

       20.      Anaconda admits that Python is a programming language that was first

 released in or around 1991.       Anaconda admits that the Python programming

 language is governed by open source licenses. Anaconda denies the remaining

 allegations in paragraph 20.

       21.      Anaconda admits that a large ecosystem has grown up around the

 Python programming language. Anaconda admits that many, but not all, Python

 projects, libraries, and applications are available for download on the Internet.

 Anaconda admits that many, but not all, Python projects, libraries, and applications

 are released under open-source licenses that grant users certain rights to use, modify,

 and distribute the software without payment of money. Anaconda admits that

 NumPy is a package for scientific computing in Python. Anaconda admits there are



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 versions of NumPy outside Anaconda packages that are currently licensed under the

 BSD-3-Clause open source license. Anaconda admits that Python projects, libraries,

 and applications can be organized into modules called “packages.” Anaconda denies

 the remaining allegations in paragraph 21.

       22.    Anaconda admits that software developers working with Python

 programs may use a variety of programs and tools besides Anaconda-developed

 software for installing Python packages, creating environments for program

 execution, and managing package dependencies. Anaconda admits that “pip” is one

 tool for installing Python packages, and that “pip” is included with modern releases

 of Python. Anaconda admits that “conda” is a powerful command line tool for

 package and environment management. Anaconda lacks knowledge or information

 sufficient to form a belief about the truth of the remaining allegations of paragraph

 22, and on that basis denies them.

       23.    Anaconda admits that conda was created by Anaconda, then known as

 Continuum Analytics, in 2012.        Anaconda admits that conda is a package

 management system available on the Internet for use, subject to at least Anaconda’s

 Terms of Service. Anaconda admits that while conda is currently licensed under the

 BSD-3-Clause license, access to and use of the Anaconda Distribution, which

 contains conda, is subject to at least Anaconda’s Terms of Service and End User




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 License Agreement. Anaconda admits that its website speaks for itself. Anaconda

 denies any remaining allegations in paragraph 23.

       24.   Anaconda admits that a conda “channel” is a location where conda

 packages are stored. Anaconda admits that conda can be configured to access any

 number of channels, including those maintained by entities other than Anaconda,

 and that conda can then install packages from those channels. Anaconda admits that

 conda channels are typically hosted on a server and are often accessible over the

 Internet, although the mere fact that a channel is accessible over the Internet does

 not mean that the packages hosted on that channel are free to use without a license

 or authentication. Anaconda admits that conda channels are sometimes referred to

 as “repositories.” Anaconda admits that there are several ways to configure public

 and private channels with different characteristics and permissions. Anaconda

 denies any remaining allegations in paragraph 24.

       25.   To the extent the allegations of paragraph 25 paraphrase or characterize

 the contents of the conda-build Documentation (D.I. 1, Exhibit D), the document

 speaks for itself and Anaconda denies any allegation inconsistent therewith.

 Anaconda admits that the metadata contained in a package contains information

 about the package. Anaconda admits that conda packages are subject to certain

 specifications but denies that the package “metadata” or any other part of a package

 is predetermined or does not reflect the choices or discretion of the creator of the



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 package. Anaconda denies that a person “seeking to publish a Python package that

 can be downloaded and updated with the conda application has no choice but to

 follow the specification, or else the package at issue will not work with conda.”

 Anaconda denies any remaining allegations in paragraph 25.

       26.     Anaconda admits that programmers can configure conda to access

 different conda “channels” with different permissions. Anaconda admits that some

 conda channels can be publicly accessed. Anaconda specifically denies that the fact

 that some channels are publicly accessible necessarily means that there are “no

 protections” for the packages accessible through such channels. Anaconda denies

 the remaining allegations in paragraph 26.

       27.     Anaconda admits that it hosts conda channels that are publicly

 accessible.   Anaconda admits that it hosts conda channels that have token

 authentication requirements for access. Anaconda denies that by making any

 channels publicly accessible, such channels have “no protections,” including at least

 because those packages are still protected by copyright and that access to and/or use

 of hundreds of the most popular conda-compatible packages in the Anaconda

 Distribution are subject to at least Anaconda’s Terms of Service and End User

 License Agreement. Anaconda denies any remaining allegations in paragraph 27.

       28.     Anaconda admits that Anaconda hosts channels collectively referred to

 as the “Anaconda Default Channels.” Anaconda admits that the Anaconda Default



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 Channels can be publicly accessed, but access to and/or use of the Anaconda Default

 Channels is subject to at least Anaconda’s Terms of Service. Anaconda denies the

 remaining allegations of paragraph 28.

       29.     Anaconda admits that Anaconda hosts a channel called “conda-forge,”

 separate from the Anaconda Default Channel, which is community maintained.

 Anaconda admits conda-forge is publicly accessible without credentials, subject to

 at least Anaconda’s Terms of Service. Anaconda denies the remaining allegations

 in paragraph 29.

       30.     To the extent the allegations of paragraph 30 seek to paraphrase or

 characterize contents of the complaint from Anaconda, Inc. v. Dell, Inc., 1:24-cv-

 01527 (W.D. Tex.), the document speaks for itself. Anaconda admits that Anaconda

 Distribution currently includes:

             • Over 300 default software packages curated for data science, machine

                learning, and data visualization, and the ability to access and download

                over 8,000 packages, all pre-configured and ready for deployment on

                Anaconda’s platform;

             • conda (Anaconda’s cross-platform, language-agnostic command line

                package and environment manager);

             • The latest version of the Python programming language supported by

                the Anaconda Distribution; and


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             • Anaconda Navigator (a graphical user interface for launching and

               managing packages and environments).

 Anaconda denies the remaining allegations in paragraph 30.

       31.     Anaconda admits that it publicly hosts the Anaconda Default Channels

 and provides the Anaconda Distribution, subject to at least Anaconda’s Terms of

 Service and End User License Agreement. Anaconda admits it publicly hosts the

 conda-forge channel, from which packages may be downloaded without providing

 credentials or paying a fee, subject to at least Anaconda’s Terms of Service.

 Anaconda denies the remaining allegations in paragraph 31.

       32.     Anaconda admits that it licenses the Anaconda Distribution through

 license agreements, including Anaconda’s Terms of Service which Anaconda

 publishes on its website. Anaconda denies any remaining allegations in paragraph

 32.

       33.     Anaconda admits that it, like many businesses, from time to time,

 updated its Terms of Service which govern accessibility and use of its products and

 software. Anaconda denies any remaining allegations in paragraph 33.

       34.     To the extent the allegations of paragraph 34 paraphrase or characterize

 the contents of the document at Exhibit E to the Complaint, the document speaks for

 itself. Anaconda admits that the document at Exhibit E to the Complaint is the

 “Anaconda End User License Agreement” from 2012. Anaconda denies that Exhibit


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 E to the Complaint is relevant to the claims articulated by the Airbus Entities or the

 Counterclaims asserted by Anaconda. Anaconda denies any remaining allegations

 in paragraph 34.

       35.    To the extent the allegations of paragraph 35 characterize the contents

 of the document at Exhibit F to the Complaint, the document speaks for itself.

 Anaconda admits that the document at Exhibit F to the Complaint is Anaconda’s

 Terms of Service dated March 26, 2020. Anaconda denies any remaining allegations

 in paragraph 35.

       36.    To the extent the allegations of paragraph 36 characterize the contents

 of the document at Exhibit G to the Complaint, the document speaks for itself.

 Anaconda admits that the document at Exhibit G to the Complaint is Anaconda’s

 Terms of Service dated October 29, 2020.           Anaconda denies the remaining

 allegations in paragraph 36.

       37.    Anaconda admits that it revised Anaconda’s Terms of Service on April

 2, 2023 and March 31, 2024. Anaconda admits that the document at Exhibit H to

 the Complaint is Anaconda’s Terms of Service as updated on April 2, 2023.

 Anaconda admits that the document at Exhibit C to the Complaint is Anaconda’s

 Terms of Service as updated on March 31, 2024. To the extent the allegations of

 paragraph 37 characterize the contents of the documents at Exhibit C and Exhibit H

 to the Complaint, the documents speak for themselves, and Anaconda denies the



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 allegations to the extent that they are inconsistent with that document. Anaconda

 denies any remaining allegations in paragraph 37.

       38.   To the extent the allegations of paragraph 38 paraphrase or characterize

 the contents of the document at Exhibit C to the Complaint, the document speaks for

 itself, and Anaconda denies the allegations to the extent that they are inconsistent

 with that document. Anaconda denies the remainder of paragraph 38.

       39.   Anaconda admits that it amended Anaconda’s Terms of Service in

 March of 2020 to include a paid license requirement for commercial users like

 Airbus, which took effect on April 30, 2020. Anaconda denies the remaining

 allegations in paragraph 39.

       40.   Anaconda admits that in some instances, it tracked IP addresses that

 accessed and downloaded packages and installers from repo.anaconda.com before

 Anaconda changed Anaconda’s Terms of Service in March of 2020. Anaconda lacks

 knowledge or information to form a belief about the truth of the remaining

 allegations of paragraph 40, and on that basis denies them.

       41.   Denied.

       42.   Anaconda admits that it appointed a new CEO in January of 2024.

 Anaconda denies the remaining allegations in paragraph 42.

       43.   Anaconda admits it filed the following lawsuits: Anaconda, Inc. v. Dell,

 Inc., 1:24-cv-01527 (W.D. Tex.); Anaconda, Inc. v. Intel Corp., 1:24-cv-00925 (D.



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 Del.); Anaconda Inc. v. Alibaba Grp. Holding Ltd., D-1-GN-24-002361 (Tex. Dist.

 Ct. 419th). To the extent the allegations of paragraph 43 characterizes the nature of

 those lawsuits, the operative complaints speak for themselves and Anaconda denies

 the allegations to the extent that they are inconsistent with those complaints.

 Anaconda denies any remaining allegations in paragraph 43.

       44.    Anaconda admits that it has notified other companies of their violations

 of Anaconda’s Terms of Service and copyright infringement. Anaconda lacks

 knowledge or information sufficient to form a belief about the “publicly reported”

 information referred to in paragraph 44, and on that basis denies that allegation.

 Anaconda denies the remaining allegations of paragraph 44.

       45.    Anaconda admits that Anaconda has had commercial discussions with

 at least some of the Airbus Entities in the past. Anaconda admits that Airbus

 Defence and Space Ltd. previously entered into a licensing agreement with

 Anaconda. Anaconda admits that Anaconda and counsel representing Anaconda

 have sent letters to one or more Airbus Entities, including at least Airbus

 Helicopters, Inc. and Airbus U.S. Space & Defense, Inc., alerting them to their

 violation of Anaconda’s Terms of Service and infringement of the Asserted

 Copyright. To the extent the allegations of paragraph 45 characterize the contents

 of the letters between Anaconda and certain Airbus Entities, those letters speak for

 themselves, and Anaconda denies the allegations to the extent that they are



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 inconsistent with those letters.   Anaconda denies the remaining allegations in

 paragraph 45.

       46.    Anaconda admits that Anaconda and counsel representing Anaconda

 have sent letters to one or more Airbus Entities, including at least Airbus

 Helicopters, Inc. and Airbus U.S. Space & Defense, Inc., alerting them to their

 violation of Anaconda’s Terms of Service and infringement of the Asserted

 Copyright.      Anaconda admits that it, directly or through counsel, sent

 correspondence to certain Airbus entities on February 27, 2024, May 20, 2024, and

 January 16, 2025. To the extent the allegations of paragraph 46 characterize the

 contents of that correspondence, those letters speak for themselves. Anaconda

 denies the allegations of paragraph 46 to the extent they are inconsistent with those

 letters. Anaconda denies any remaining allegations in paragraph 46.

       47.    Anaconda admits that it sent a letter to Airbus Helicopters, Inc. and

 Airbus U.S. Space & Defense, Inc. on January 16, 2025, reflected at Exhibit I to

 Airbus Entities’ Complaint. D.I. 1, Ex. I. To the extent the allegations of paragraph

 47 characterize the contents of that correspondence, the letter speaks for itself, and

 Anaconda denies the allegations to the extent that they are inconsistent with that

 letter. Anaconda lacks knowledge or information sufficient to form a belief about

 the truth of the remaining allegations of paragraph 47, and on that basis denies them.




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       48.    Anaconda admits Alistair Scott, Vice President, Intellectual Property,

 at Airbus Group emailed a former Anaconda employee on October 4, 2024 pursuant

 to Federal Rule of Evidence 408, but no other Anaconda employees or outside

 counsel were included on that email, despite the March 31, 2024 Terms of Service

 requiring that any notices regarding the Terms of Service be “sent to Anaconda, Inc.,

 Attn: Legal at 1108 Lavaca Street, Suite 110-645 Austin, TX 78701 and

 legal@anaconda.com.” D.I. 1, Ex. C at § 15.13. Anaconda lacks knowledge or

 information sufficient to form a belief about the truth of the remaining allegations of

 paragraph 48, and on that basis denies them.

       49.    Anaconda admits that it requested information from one or more of the

 Airbus Entities regarding usage in connection with Anaconda’s licensing

 correspondence. Anaconda admits that it has made reasonable monetary demands

 in light of the Airbus Entities’ infringement and violation of Anaconda’s license

 agreement, and sought to ensure that the Airbus entities ongoing use of Anaconda’s

 proprietary software is properly licensed.        Anaconda denies the remaining

 allegations in paragraph 49.

       50.    Denied.

       51.    Denied.

       52.    Anaconda admits that the Anaconda Distribution includes conda,

 Anaconda’s cross-platform, language-agnostic command line package and



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 environment manager. Anaconda admits that while conda is currently licensed

 under the BSD-3-Clause license, access to and use of the Anaconda Distribution,

 which contains conda, is subject to at least Anaconda’s Terms of Service and End

 User License Agreement. Anaconda denies the remaining allegations of paragraph

 52.

       53.   To the extent the allegations contained in paragraph 53 call for a legal

 conclusion, no response is required. To the extent a response is required, Anaconda

 denies the allegations contained in paragraph 53.

       54.   To the extent the allegations contained in paragraph 54 call for a legal

 conclusion, no response is required. To the extent this paragraph of the Complaint

 purports to quote Anaconda’s complaint in Anaconda, Inc. v. Dell, Inc., 1:24-cv-

 01527 (W.D. Tex.), that document speaks for itself.          Anaconda denies any

 allegations inconsistent with that complaint.       Anaconda denies the remaining

 allegations in paragraph 54.

       55.   To the extent the allegations contained in paragraph 55 call for a legal

 conclusion, no response is required. To the extent this paragraph of the Complaint

 purports to quote Anaconda’s complaint in Anaconda, Inc. v. Dell, Inc., 1:24-cv-

 01527 (W.D. Tex.), that document speaks for itself.          Anaconda denies any

 allegations inconsistent with that complaint.       Anaconda denies the remaining

 allegations in paragraph 55.



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       56.    Anaconda admits that conda is part of the Anaconda Distribution.

 Anaconda admits that conda is currently licensed under the BSD-3-Clause License,

 although access to and use of the Anaconda Distribution, which contains conda, is

 subject to at least Anaconda’s Terms of Service and End User License Agreement.

 Anaconda admits that its website speaks for itself. Anaconda denies the remaining

 allegations in paragraph 56.

                                COUNT ONE
              (Declaratory Judgment of No Copyright Infringement)

       57.    Anaconda incorporates by reference its responses to paragraphs 1

 through 56 as if fully set forth herein.

       58.    Denied.

       59.    Admitted that there is an actual controversary with respect to whether

 one or more of the Airbus Entities infringe a valid copyright owned by Anaconda.

       60.    Denied.

       61.    Denied.

       62.    Denied.

       63.    Denied.

       64.    Denied.

       65.    Anaconda admits that the Airbus Entities seek a declaration that the

 Airbus Entities cannot have infringed the Asserted Copyright. Anaconda denies the

 remaining allegations in paragraph 65.

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       66.    To the extent allegations contained in paragraph 66 require a response,

 Anaconda denies that such a declaration is appropriate. Anaconda denies the

 remaining allegations in paragraph 66.

                               PRAYER FOR RELIEF

       67.    To the extent any response is required to any paragraph of the Airbus

 Entities’ Prayer for Relief, Anaconda denies that the Airbus Entities are entitled to

 any of the requested relief or any other remedy or relief whatsoever and therefore

 denies any allegations in its Prayer for Relief.

                            AFFIRMATIVE DEFENSES

       1.     Subject to the responses above, on information and belief, Anaconda

 alleges and asserts at least the following defenses in response to the Airbus Entities’

 allegations, undertaking the burden of proof only as to those defenses deemed

 affirmative defenses by law, regardless of how such defenses are named herein. In

 addition to the defenses described below, subject to the responses above, Anaconda

 specifically reserves all rights to allege additional defenses that are not required to

 be pleaded or that become known through the course of discovery.

                                 FIRST DEFENSE
                              (Failure to State a Claim)

       2.     The Airbus Entities’ Complaint fails to state a claim upon which relief

 can be granted.




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                                   SECOND DEFENSE
                               (No Costs or Attorneys’ Fees)

        3.        The Airbus Entities cannot prove entitlement to costs and/or attorneys

 fees pursuant to 17 U.S. Code § 505.

                                    THIRD DEFENSE
                                     (Other Defenses)

        4.        Anaconda reserves the right to supplement or amend this Answer and

 reserves all defenses set out in Rule 8(c) of the Federal Rules of Civil Procedure, the

 Copyright Laws of the United States, and any other defenses, at law or in equity,

 which become applicable during the course of discovery or otherwise in the course

 of litigation.




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                                COUNTERCLAIMS

       For its counterclaims against the Airbus Entities, Anaconda alleges as follows:

                           NATURE OF THE ACTION

       1.     Anaconda’s Counterclaims arise under the copyright laws of the United

 States 17 U.S.C. § 101, et seq and for breach of contract arising under state law.

                                      PARTIES

       2.     Counterclaim-Plaintiff Anaconda is a corporation organized and

 existing under the laws of Delaware, with its principal place of business in Austin,

 Texas.

       3.     On information and belief, Counterclaim-Defendant Plaintiff Airbus

 SAS is a société par actions simplifiée organized and existing under the laws of

 France, with its principal place of business in Blagnac, France.

       4.     On information and belief, Counterclaim-Defendant Airbus DS

 Government Solutions, Inc. is a corporation organized and existing under the laws

 of Delaware, with its principal place of business in Plano, Texas.

       5.     On    information    and    belief,   Counterclaim-Defendant     Airbus

 Helicopters, Inc. is a corporation organized and existing under the laws of Delaware,

 with its principal place of business in Grand Prairie, Texas.

       6.     On information and belief, Counterclaim-Defendant Airbus U.S. Space

 & Defense, Inc. is a corporation organized and existing under the laws of Delaware,



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 with its principal place of business in Arlington County, Virginia. Airbus U.S. Space

 & Defense, Inc. was formerly named “Airbus Defense and Space, Inc.”

       7.        On information and belief, Counterclaim-Defendant Airbus Group, Inc.

 is a corporation organized and existing under the laws of Delaware, with its principal

 place of business in Fairfax County, Virginia.

       8.        On information and belief, Counterclaim-Defendant Airbus Defence

 and Space Ltd. is a limited company organized and existing under the laws of the

 United Kingdom, with its principal place of business in Hertfordshire, England.

       9.        Together, Counterclaim-Defendants are referred to as the “Airbus

 Entities.”

                             JURISDICTION AND VENUE

       10.       The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

 and 1338(a).

       11.       This Court has personal jurisdiction over the Airbus Entities because

 they consented to personal jurisdiction by filing their action for declaratory judgment

 of no copyright infringement in this Court, in response to which these counterclaims

 are asserted.

       12.       Venue is proper in this jurisdiction with respect to Counterclaim-

 Defendants Airbus Group, Inc., Airbus U.S. Space & Defense, Airbus Helicopters,

 Inc., and Airbus DS Government Solutions, Inc. under 28 U.S.C. § 1400(a) because



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 Counterclaim-Defendants Airbus Group, Inc., Airbus U.S. Space & Defense, Airbus

 Helicopters, Inc., and Airbus DS Government Solutions, Inc. are residents of the

 state of Delaware through their incorporation under the laws of this state.

                         FACTUAL BACKGROUND
                    Conda Packages and the conda Ecosystem

       13.    Anaconda is a privately held American company founded in 2012 to

 simplify the management and deployment of scientific and analytic software

 packages so that researchers and businesses can easily leverage those data science

 packages in business data solutions. Thanks to Anaconda’s innovations, including

 those described in this document, the demand for Anaconda’s offerings has

 expanded. Today, Anaconda’s footprint includes over 45 million users at more than

 one million companies worldwide.

       14.    Scientists, engineers, and researchers, particularly in the field of AI and

 machine learning, commonly use independently developed and maintained software

 packages to perform operations critical to their research and work.              These

 “packages” are collections of software modules and functions that software

 developers can re-use to perform common tasks.              For example, a developer

 performing a data analysis might want to use any number of common open-source

 packages—e.g., “pandas,” a data analysis and manipulation tool, “NumPy,” a tool

 that manipulates large arrays of numbers, and “SciPy,” a tool that provides various

 mathematical modules used in science and engineering—to read and write data,


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 perform numerical integration and interpolation, and use linear algebra, without

 having to write the necessary source code from scratch. Developers commonly

 utilize and combine any number of these separate packages together in a single

 project, often using a development “environment” containing a specific collection

 of packages that a developer has installed. By using different environments for

 different projects, software developers ensure that packages within one environment

 remain independent of, and are unaffected by, packages used in another

 environment, much as using different user profiles on a computer allows users to

 keep their files and settings separated from those of other users. But packages do

 not always work well when installed together in the same environment, resulting in

 errors, security flaws, program failure, or inaccurate or unpredictable results.

       15.    Anaconda observed that data science programmers, for example,

 struggled to develop new programs and research because the hundreds—if not

 thousands—of individual software packages used in scientific computing were

 created and maintained by different organizations and individuals. In 2012, long

 before the current explosion of machine learning and AI development, Anaconda

 developed conda, an open-source package-management system and environment

 management system designed to help programmers conduct scientific computing.

 Rather than leaving troubleshooting compatibility among and between packages to

 the individual software developer, conda automatically analyzes all of the software



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 packages installed in a software environment, identifies all dependencies and

 compatibilities, and warns the developer if the packages cannot be installed together

 in a compatible way.

       16.    The conda package- and environment-management software is free and

 open source. But there is much more to using conda than just installing the conda

 software itself. In order to use packages in the conda environment, a user must install

 conda-compatible packages, or versions of software packages that have been

 specially prepared for the conda environment. Anyone can build a conda-compatible

 package, which contains the underlying software distribution for the package,

 compiled objects for the package, a package-building recipe, and associated files

 enabling use of the package within the conda environment. But Anaconda created

 over 8,000 conda-compatible packages at considerable effort and expense that

 support applications including, for example, data science and AI. These conda-

 compatible packages in the Anaconda repository and Anaconda Distribution are free

 to use by an organization unless it has 200 or more employees, as described in

 Anaconda’s Terms of Service.

       17.    Anyone can also create a conda “channel,” or a location where conda-

 compatible packages are stored and can be downloaded by others. For example,

 “Bioconda” is a conda channel hosted by a volunteer community that contains




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 conda-compatible packages related to biomedical research that are created by

 individual contributors, not Anaconda.

                              The Anaconda Distribution

       18.      One of Anaconda’s most popular offerings, the Anaconda Distribution,

 provides everything a software developer needs to quickly get started programming

 by including the most commonly used data science, AI, machine learning conda-

 compatible packages, and all the software needed to use those packages in a conda

 environment.      The Anaconda Distribution bundles popular conda-compatible

 packages that enable a user-friendly experience with conda and configures those

 packages so that they are easy to install and use. The Anaconda Distribution

 currently includes access to:

             • Over 300 default software packages curated for data science, machine

                learning, and data visualization, and the ability to access and download

                over 8,000 packages, all pre-configured and ready for deployment on

                Anaconda’s platform;

             • conda (Anaconda’s cross-platform, language-agnostic command line

                package and environment manager);

             • The latest version of the Python programming language supported by

                the Anaconda Distribution; and




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             • Anaconda Navigator (a graphical user interface for launching and

               managing packages and environments).

       19.     The over 300 conda-compatible packages in the Anaconda Distribution

 reflect the heart of the Anaconda Distribution and Anaconda’s offerings. The

 Anaconda repository also offers thousands of additional conda-compatible versions

 of packages for research and development in AI, machine learning, and other data

 science. Although the underlying software packages contained within the Anaconda

 Distribution may be open source, the conda-compatible versions of those packages

 included within the Anaconda Distribution include material created by Anaconda

 developers, at significant burden and expense, reflecting creative choices by those

 developers. Anaconda securely hosts its conda-compatible packages and maintains,

 methodically tests, and updates the conda-compatible versions of those packages in

 the Anaconda Distribution and the Anaconda repository. All packages and libraries

 in the Anaconda Distribution and the Anaconda repository are pre-configured by

 Anaconda to ensure that the packages work with each other in a conda environment

 securely and without errors. Anaconda tracks changes to the conda-compatible

 packages and libraries it makes available, and Anaconda updates the Anaconda

 Distribution to ensure that any changes to underlying packages are accounted for

 and any necessary dependencies or conflicts are updated.




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       20.   Anaconda’s conda-compatible packages in the Anaconda Distribution

 and the Anaconda repository also provide Anaconda’s users with the ability to

 manage their environments and ensure that packages continue to operate as expected

 and without errors when software is changed and updated. For example, when a

 new version of a given package is released that is incompatible with a prior version

 of a different package, conda will warn a user about this incompatibility before

 updating the package. The pre-configured conda-compatible packages available

 through the Anaconda Distribution and the Anaconda repository include proprietary

 instructions developed by Anaconda that reflect information concerning package

 management, tracking, and security.       While a programmer could separately

 download, compile, install, and test conda and the hundreds (if not thousands) of

 separately maintained software packages for compatibility, it would be burdensome

 for an individual programmer to undertake such a task. Since Anaconda’s

 proprietary instructions within the Anaconda Distribution and the Anaconda

 repository ensure package compatibilities, users are no longer distracted by package

 management issues and can instead focus on using the packages for their own

 projects.

       21.   Curating and updating the Anaconda Distribution described above

 requires significant time and expense, and a substantial amount of network

 infrastructure and bandwidth is needed to make these repositories available to



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 millions of Anaconda users on a daily basis. To keep up with the demand of offering

 its products to the public, in or about March 2020, Anaconda determined that it

 would be necessary to charge large commercial enterprises a licensing fee for the

 right to use the Anaconda Distribution.

          22.    Anaconda makes the Anaconda Distribution available to the public for

 download, subject to Anaconda’s Terms of Service. Packages within the Anaconda

 package repository are also available for download, subject to the Anaconda’s Terms

 of Service. Anaconda’s March 31, 2024 Terms of Service specify that “registration,

 download, use, installation, access, or enjoyment of all Anaconda Offerings on

 behalf of an organization that has two hundred (200) or more employees or

 contractors (‘Organizational Use’) requires a paid license of Anaconda Business or

 Anaconda Enterprise.”1 Anaconda’s public pricing page also specifies up front that

 “Use of Anaconda’s Offerings at an organization of more than 200 employees

 requires a Business or Enterprise license.”2 Additionally, Anaconda’s March 31,

 2024 Terms of Service specify that, upon termination of a paid Anaconda license, a

 former licensee must “stop using the Anaconda Offering(s) and destroy any copies

 of Anaconda Proprietary Technology and Confidential Information within Your

 control.”



 1
     https://legal.anaconda.com/policies/en?name=terms-of-service#terms-of-service
 2
     https://www.anaconda.com/pricing

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                       Anaconda’s Revised Terms of Service

        23.    In March 2020, Anaconda revised its terms of service.           While

 individuals and small businesses were still able to use the Anaconda Distribution for

 free, the updated Terms of Service required certain larger companies to purchase a

 license to use it.

        24.    As set forth below, the Airbus Entities have registered to, used,

 installed, downloaded, accessed, and/or mirrored the Anaconda Offerings without

 authorization. Anaconda revised its Terms of Service on March 26, 2020 (“March

 2020 Terms of Service”), October 29, 2020 (“October 2020 Terms of Service”),

 April 2, 2023 (“April 2023 Terms of Service”), and March 31, 2024 (“March 2024

 Terms of Service”). These four versions of the Terms of Service are collectively

 referred to as “Anaconda’s Terms of Service.” Since at least 2020, Anaconda’s

 Terms of Service have been publicly available on its website.

        25.    Users agree to Anaconda’s Terms of Service when they register to, use,

 install, download, or access the Anaconda Offerings. For example, the March 2020

 Terms of Service state “YOUR USE OF THE REPOSITORY SIGNIFIES AND

 CONSTITUTES YOUR ACCEPTANCE OF THIS AGREEMENT.” D.I. 1, Ex. F.

 The October 2020 Terms of Service state that “YOUR USE OF THE REPOSITORY

 SIGNIFIES       AND     CONSTITUTES        YOUR      ACCEPTANCE          OF    THIS

 AGREEMENT.” D.I. 1, Ex. G. The April 2023 Terms of Service state “YOU



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 ACKNOWLEDGE THAT THESE TOS ARE BINDING, AND YOU AFFIRM

 AND SIGNIFY YOUR CONSENT TO THESE TOS, BY: (I) CLICKING A

 BUTTON         OR     CHECKBOX,           (II)   SIGNING        A    SIGNATURE           BLOCK

 SIGNIFYING YOUR ACCEPTANCE OF THESE TOS; AND/OR (III)

 REGISTERING TO, USING, OR ACCESSING THE CLOUD OFFERINGS,

 WHICHEVER IS EARLIER.” D.I. 1, Ex. H. The March 2024 Terms of Service

 state that “You hereby acknowledge that these TOS are binding, and You affirm and

 signify your consent to these TOS by registering to, using, installing, downloading,

 or accessing the Anaconda Offerings effective as of the date of first registration, use,

 install, download or access.” D.I. 1, Ex. C.

        26.     Since March 2020, Anaconda has placed certain commercial

 restrictions on use of its proprietary material in the Anaconda Distribution and the

 packages within the Anaconda package repository. Anaconda’s Terms of Service

 expressly prohibited large commercial entities—those with 200 or more

 employees—from using the Anaconda Distribution without purchasing a license. At

 all relevant times, Anaconda’s Terms of Service also expressly prohibited the Airbus

 Entities from downloading or mirroring Anaconda’s repositories.3



 3
   “Mirroring” means to create an exact duplicate or copy of an entire repository, which is then used
 to supply individual packages to multiple end-users and is updated periodically based on updates
 to the original repository. As set forth below, on information and belief, one or more of the Airbus
 Entities have repeatedly mirrored Anaconda’s proprietary material and stored complete copies on
 its own servers. Employees of the Airbus Entities can then use these internal “mirrors” to access

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        27.     Anaconda’s March 2020 Terms of Service state that “[t]o ensure that

 we can continue providing the Repository, a resource for the entire community, we

 are not granting you permission to use our community site for large-scale

 commercial activities, such as downloading or mirroring the Repository.” D.I. 1,

 Ex. F. Anaconda’s March 2020 Terms of Service further state:

        Your use of the Repository must always comply with applicable law
        and the other terms of this Agreement. In particular, but without
        limitation, you agree not to:

                (a) Engage in commercial activities, such as marketing the
                contents of the Repository or utilizing the Repository in a way
                that could degrade the ability of our other community members
                to use the Repository;

                (b) Create mirrors of the Repository for commercial purposes,
                without express permission;

                (c) Republish material from the Repository, including
                republication on another website or creating a public or private
                mirror without express permission from Anaconda; or

                (d) Sell, rent or sub-license material from the Repository.

 Id. at 1-2.

        28.     In April 2020, Anaconda announced a change to Anaconda’s Terms of

 service “as a response to the dramatic increase in usage and adoption of Python and

 Anaconda among commercial users over the last few years” and asked “commercial




 Anaconda’s proprietary technology, bypassing Anaconda’s servers. By mirroring Anaconda’s
 proprietary technology and redistributing their contents to its end-users, the Airbus Entities have
 effectively concealed the extent of its use from Anaconda.

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 users who heavily rely on our packaging & distribution efforts to purchase our

 commercial repository software.” Ex. A.

       29.   Anaconda revised the terms of service effective October 29, 2020.

 Anaconda’s October 2020 Terms of Service state that Anaconda does not “grant[]

 permission to use the Repository for commercial activities … or in a way that could

 negatively impact other users, such as downloading or mirroring the entire

 Repository.” D.I. 1, Ex. G at 1-2. To avoid confusion, the October 2020 Terms of

 Service also explain that prohibited “commercial activities” include any use of the

 Proprietary Repositories by an entity with more than 200 employees. Id. at 2. The

 October 2020 Terms of Service further state:

       Your use of the Repository must always comply with applicable law
       and the terms of this Agreement. In particular, but without limitation,
       you agree not to use the Repository to:

                • Mirror the Repository or create a cache via any automated
                  means including as prohibited below under the heading
                  “Access and Interference”;

                • Engage in commercial activities to market the Repository
                  or a material portion of its contents or engaging in
                  activities which encourage the use of the Repository in a
                  manner that violates this Agreement, or utilizing the
                  Repository in a way that could degrade the ability of our
                  other community members to use the Repository;

                • Republish any material portion of the Repository in a
                  manner competitive with the offering by Anaconda,
                  including republication on another website or creating a
                  public or private mirror without express permission from
                  Anaconda (For private mirrors, we encourage you to


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                     contact Anaconda at termsofservice@anaconda.com for
                     more information about Anaconda Enterprise); or

                  • Sell, rent or sub-license material from the Repository.

 Id. at 1-2.

        30.    Anaconda’s April 2023 Terms of Service include a similar prohibition,

 requiring that organizations with over 200 employees to take a license to use

 Anaconda’s technology. The April 2023 Terms of Service state:

        You may not use Free Offerings for commercial purposes, including
        but not limited to external business use, third-party access, Content
        mirroring, or use in organizations over two hundred (200) employees
        (unless such use is for an Educational Purpose) (each a “Commercial
        Purpose”). Using the Free Offerings for a Commercial Purpose requires
        a Paid Plan with Anaconda

 D.I. 1, Ex. H at § 1.1(a)(i)(b).

        31.    The April 2023 Terms of Service also continued to prohibit mirroring

 and other conduct that circumvents contractual usage limits or access. Specifically,

 the April 2023 Terms of Service provide:

        5.2 YOUR RESTRICTIONS. You will not (a) make any Cloud
        Offerings available to anyone other than You or your Authorized Users,
        or use any Cloud Offerings for the benefit of anyone other than You or
        your Affiliates, unless expressly stated otherwise in an Order or the
        Documentation, (b) sell, resell, license, sublicense, distribute, rent or
        lease any Clous Offerings except as expressly permitted if you have
        rights for Embedded Use, or include any Cloud Offerings in a service
        bureau or outsourcing Cloud Offering, . . . (f) attempt to gain
        unauthorized access to any Cloud Offerings, Customer Content, or
        Third Party Services or their related systems or networks, (g) permit
        direct or indirect access to or use of any Cloud Offerings, Customer
        Content, or Third Party Services in a way that circumvents a contractual
        usage limit, or use any Cloud Offerings to access, copy or use any

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        Anaconda intellectual property except as permitted under these TOS,
        an Order, or the Documentation, (h) modify, copy, or create derivative
        works of the Cloud Offerings or any part, feature, function or user
        interface thereof except, and then solely to the extent that, such activity
        is required to be permitted under applicable law, (i) copy Content
        except as permitted herein or in an Order or the Documentation, (j)
        frame or mirror any part of any Content or Cloud Offerings, except if
        and to the extent permitted in an applicable Order for your own Internal
        Business Purposes and as permitted in the Documentation, (k) except
        and then solely to the extent required to be permitted by applicable law,
        disassemble, reverse engineer, or decompile an Cloud Offering or
        access an Cloud Offering to (1) build a competitive product or service,
        (2) build a product or service using similar ideas, features, functions or
        graphics of the Cloud Offering, or (3) copy any ideas, features,
        functions or graphics of the Cloud Offering.

 Id. at § 5.2.

        32.      Anaconda’s March 2024 Terms of Service continued to prohibit use of

 the Anaconda Distribution by organizations with 200 or more employees. In

 particular, the March 2024 Terms of Service provide:

        2.1 Organizational Use. Your registration, download, use, installation,
        access, or enjoyment of all Anaconda Offerings on behalf of an
        organization that has two hundred (200) or more employees or
        contractors (“Organizational Use”) requires a paid license of Anaconda
        Business or Anaconda Enterprise. For sake of clarity, use by
        government entities and nonprofit entities with over 200 employees or
        contractors is considered Organizational Use.

 D.I. 1, Ex. C at § 2.1.

        33.      The March 2024 Terms of Service define the Anaconda Offering as the

 “Anaconda Services, Anaconda software, Documentation, software development

 kits (‘SDKs’), application programming interfaces (‘APIs’), and any other items or



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 services provided by Anaconda any Upgrades thereto under the terms of these TOS,”

 including but not limiting to the Anaconda Distribution and the Anaconda public

 repository. D.I. 1, Ex. C at § 16.

       34.    Anaconda’s March 2024 Terms of Service further provide, in part:

       1.2 License Restrictions. Unless expressly agreed by Anaconda, You
       may not: (a) Make, sell, resell, license, sublicense, distribute, rent, or
       lease any Offerings available to anyone other than You or Your Users,
       unless expressly stated otherwise in an Order, Custom Agreement or
       the Documentation or as otherwise expressly permitted in writing by
       Anaconda; … (e) Permit direct or indirect access to or use of any
       Offerings or Third Party Services in a way that circumvents a
       contractual usage limit, or use any Offerings to access, copy or use any
       Anaconda intellectual property except as permitted under these TOS, a
       Custom Agreement, an Order or the Documentation; … (g) Copy
       Content except as permitted herein or in an Order, a Custom Agreement
       or the Documentation or republish any material portion of any Offering
       in a manner competitive with the offering by Anaconda, including
       republication on another website or redistribute or embed any or all
       Offerings in a commercial product for redistribution or resale; (h)
       Frame or Mirror any part of any Content or Offerings, except if and to
       the extent permitted in an applicable Custom Agreement or Order for
       your own Internal Use and as permitted in a Custom Agreement or
       Documentation; (i) Except and then solely to the extent required to be
       permitted by applicable law, copy, disassemble, reverse engineer, or
       decompile an Offering, or access an Offering to build a competitive
       service by copying or using similar ideas, features, functions or
       graphics of the Offering.

 D.I. 1, Ex. C at § 1.2.

       35.    Additionally, Anaconda’s March 2024 Terms of Service specify that,

 upon termination of a paid Anaconda license, a former licensee must “stop using the




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 Anaconda Offering(s) and destroy any copies of Anaconda Proprietary Technology

 and Confidential Information within Your control.” D.I. 1, Ex. C at § 13.5.

          36.     Anaconda has strived to apprise its users of the existence of Anaconda’s

 Terms of Service and information within it. For instance, on the repo.anaconda.com

 page, below the download options for Anaconda installers, Anaconda packages, and

 miniconda installers, it links to the operative Terms of Service and explicitly states

 “[b]y using repo.anaconda.com, you affirm that you comply with our recently

 updated Terms of Service.”4

          37.     Anaconda’s Plans and Pricing webpage reiterates the commercial

 restriction in Anaconda’s Terms of Service, stating “[u]se of Anaconda’s Offerings

 at an organization of more than 200 employees requires a Business or Enterprise

 license. For more information, see our full Terms of Service, or read Frequently

 Asked Questions about our Terms of Service.”




 4
     https://repo.anaconda.com/

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       38.    With regard to at least every download or installation of Anaconda’s

 software by or on behalf of the Airbus Entities after March 2020, the Terms of

 Service constitute a valid, enforceable, and binding agreement between Anaconda

 and the Airbus Entities.

                 The Asserted Copyright and Protected Material

       39.    Anaconda is the owner of all rights, title, and interest in and to the

 Asserted Copyright. A copy of the registration certificate for the Asserted Copyright

 is attached as Exhibit C.




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       40.    The copyrighted work reflected in the Asserted Copyright is Release

 2024.02-01 of the Anaconda Distribution and the associated Anaconda conda-

 compatible packages. As described above, the Anaconda Distribution provides

 everything software developers need to get started on developing AI, machine

 learning, and other data science projects as quickly and seamlessly as possible. It

 provides a comprehensive package- and environment-management system that

 allows users to install, run, and update packages and their dependencies for

 Anaconda’s users’ projects in a variety of science, engineering, and other data-

 intensive contexts.

       41.    The specific selection and arrangement of packages, libraries, code, and

 other files in the Anaconda Distribution represents the exercise of discretion and

 creativity of Anaconda’s employees and engineers.

       42.    The Anaconda Distribution and associated conda-compatible packages

 also contain proprietary material that Anaconda’s engineers and employees created

 at significant effort and expense (“Proprietary Components”), including the

 proprietary computer instructions critical to providing the smooth and easy user

 experience driving Anaconda’s mission and business success. The Proprietary

 Components reflect Anaconda’s own exercise of discretion, judgment, and design

 choices in describing how the various versions of the thousands of packages can

 optimally operate together. To take just one simple example among many, the



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 “pandas” version 2.1.4 python package requires python to also be installed in the

 conda environment in order to run. The pandas 2.1.4 package could theoretically

 operate with a wide range of versions of python. In fact, developers of other conda-

 compatible versions of the pandas 2.1.4 package have decided not to specify any

 particular version of python at all. But Anaconda developers, in creating the conda-

 compatible version of the pandas 2.1.4 package available in the Anaconda

 Distribution, made the judgment that only versions of python between 3.12 and

 3.13.0—representing ten versions out of hundreds—should be installed with this

 package.   Moreover, pandas 2.1.4 requires installation of not just python, but

 somewhere between thirty and forty other packages (depending on platform and

 build variant), each one of which requires multiple design decisions made by

 Anaconda’s product and engineering teams. Anaconda developers exercised this

 sort of creative discretion and judgment—including for required dependencies,

 optional dependencies, and various build options within each package—thousands

 and thousands of times over in building the conda-compatible packages available in

 the Anaconda Distribution and Anaconda repository. Different developers could

 have made—and do make—different choices. By providing a design through which

 the packages can interoperate cooperatively with each other, the proprietary

 computer instructions developed by Anaconda operate as a blueprint for building AI

 development platforms within the conda environment.



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       43.   Anaconda’s Proprietary Components are extremely valuable and attract

 Anaconda’s customers to its platform. Anaconda owns all rights to its Proprietary

 Components in all versions of the Anaconda Distribution.

      Airbus Entities’ Unauthorized Use of the Anaconda Distribution and
                             Associated Packages

       44.   On information and belief, employees and/or other individuals acting

 at the direction or on behalf of one or more of the Airbus Entities agreed to

 Anaconda’s Terms of Service by registering to, using, installing, downloading,

 accessing, and/or mirroring the Anaconda Distribution or component parts thereof,

 including Anaconda Distribution installers and/or the conda-compatible packages

 maintained on Anaconda’s public repository.

       45.   On information and belief, Airbus SAS has had more than 200

 employees since at least March 2020.

       46.   On information and belief, Airbus DS Government Solutions, Inc. has

 had more than 200 employees since at least March 2020.

       47.   On information and belief, Airbus Helicopters, Inc. has had more than

 200 employees since at least March 2020.

       48.   On information and belief, Airbus U.S. Space & Defense, Inc. has had

 more than 200 employees since at least March 2020.

       49.   On information and belief, Airbus Group, Inc. has had more than 200

 employees since at least March 2020.


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       50.    On information and belief, Airbus Defence and Space Ltd. has had

 more than 200 employees since at least March 2020.

       51.    On information and belief, in violation of the Terms of Service,

 employees and/or other individuals acting at the direction or on behalf of one or

 more of Airbus SAS, Airbus DS Government Solutions, Inc., Airbus Helicopters,

 Inc., Airbus U.S. Space & Defense, Inc., and Airbus Group, Inc. registered to, used,

 installed, downloaded, accessed, and/or mirrored the Anaconda Distribution or

 component parts thereof, including Anaconda Distribution installers and/or the

 conda-compatible packages maintained on Anaconda’s public repository.

       52.    Airbus Defence and Space, Ltd. entered into a paid one year license

 with Anaconda that began on March 1, 2023 and expired on March 2, 2024 (“Airbus

 Defence March 2023 License”), restricted to 50 users. None of the other Airbus

 Entities—Airbus SAS, Airbus DS Government Solutions, Inc., Airbus Helicopters,

 Inc., Airbus U.S. Space & Defense, Inc., and Airbus Group, Inc—have ever entered

 into a paid license with Anaconda, despite their use of Anaconda’s Asserted

 Copyright.

       53.    In February 2024, before Airbus Defence and Space Ltd.’s license

 expired, Anaconda notified Airbus Defence and Space Ltd. that its usage during the

 license period had exceeded the 50 user limit under the Airbus Defence March 2023

 License. The same month Anaconda alerted Airbus Defence and Space Ltd., that a



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 new, larger license would be required to continue its usage at that time, and to cease

 and desist continued usage until a new license agreement was established.

       54.    Anaconda attempted to negotiate an appropriate license based on the

 Airbus Entities’ usage of the Anaconda Distribution. For example, in an effort to

 ensure that the license agreement was commensurate with use, on February 27, 2024,

 Anaconda provided the Airbus Entities with instructions for the Airbus Entities to

 scan their systems and provide Anaconda with data of the Airbus Entities’ usage of

 the Anaconda Offerings. The Airbus Entities failed to provide Anaconda with the

 requested scans.

       55.    After the license to Airbus Defence and Space, Ltd. expired on March

 2, 2024, Airbus Defence and Space, Ltd. did not enter into a new licensing agreement

 with Anaconda.

       56.    On information and belief, after the license to Airbus Defence and

 Space, Ltd. ended on March 2, 2024, Airbus Defence and Space, Ltd. continued to

 use, install, download, access, copy, mirror, and/or distribute Anaconda Distribution

 and the associated conda-compatible packages, including the Proprietary

 Components, unlawfully without Anaconda’s permission.

       57.    Although Anaconda asked Airbus SAS, Airbus DS Government

 Solutions, Inc., Airbus Helicopters, Inc., Airbus U.S. Space & Defense, Inc., and

 Airbus Group, Inc. to enter into paid licenses, and Anaconda asked Airbus Defence



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 and Space, Ltd. to renew its paid license at the appropriate usage amount, the Airbus

 Entities failed to pay to continue to use the Anaconda Distribution and the associated

 conda-compatible packages, including the Proprietary Components.

        58.   Meanwhile, on information and belief, one or more of the Airbus

 Entities continued to download and use Anaconda’s Proprietary Components

 without a requisite license. For example, in March of 2024, after Anaconda sent the

 February 27, 2024 letter requesting Airbus Defence and Space Ltd. to cease and

 desist unauthorized use beyond the contracted limit and establish a new license, on

 information and belief, one or more Airbus Entities downloaded over 28,000

 packages from Anaconda’s proprietary repository. Ex. B. On information and

 belief, one or more Airbus Entities’ mirrored Anaconda’s Proprietary Components

 and downloaded installers in March 2024. Id.

        59.   Anaconda’s repositories, from which one or more of the Airbus Entities

 downloaded the packages and installers, are maintained on servers located in the

 U.S.

        60.   On information and belief, one or more of the Airbus Entities have

 infringed, and continue to infringe, Anaconda’s Asserted Copyright by registering

 to, using, accessing, copying, mirroring and/or distributing the Anaconda

 Distribution and the associated conda-compatible packages, including the

 Proprietary Components, without Anaconda’s authorization.



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       61.    On information and belief, one or more of the Airbus Entities, without

 Anaconda’s authorization, reproduce and create derivative works based on

 Anaconda’s Proprietary Components and other protected elements of the Anaconda

 Distribution by using the Anaconda Distribution and associated conda-compatible

 packages, including the Proprietary Components, for internal purposes.

       62.    On information and belief, one or more of the Airbus Entities allow

 their employees, and/or other individuals acting at their direction or on their behalf,

 to use the Anaconda Distribution and Anaconda’s conda-compatible packages,

 including the Proprietary Components, without Anaconda’s authorization, following

 the end of the commercial dealings between Anaconda and the one or more of the

 Airbus Entities.

       63.    While the Anaconda Distribution and Anaconda’s conda-compatible

 packages include some open-source features and components, the Airbus Entities’

 reproduction of, and creation of derivative works based on, the Anaconda

 Distribution and Anaconda’s conda-compatible packages, including the Proprietary

 Components, are not limited to those open-source components. One or more of the

 Airbus Entities copied and improperly used entire conda-compatible packages

 precisely as released by Anaconda, including all components protected by the

 Asserted Copyright.




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       64.    One or more of the Airbus Entities, through their employees, and/or

 other individuals acting at their direction or on their behalf, violate Anaconda’s

 exclusive right under the Asserted Copyright to export the Anaconda Distribution

 and the associated conda-compatible packages, including the Proprietary

 Components, outside the United States when they download the Anaconda

 Distribution and Anaconda’s conda-compatible packages, including the Proprietary

 Components in territories outside the United States without Anaconda’s

 authorization, including in France and Europe.

       65.    One or more of the Airbus Entities have been aware of Anaconda’s

 intellectual property rights upon registering, using, accessing, installing, and/or

 downloading Anaconda’s technology, that requires assent to at least Anaconda’s

 Terms of Service and/or End User License Agreement that describe Anaconda’s

 intellectual property rights.

       66.    On information and belief, one or more of the Airbus Entities have been

 on notice that they needed to take a license since at least March 2021, when

 companies of Airbus Commercial Aircraft division were negotiating a license to use

 Anaconda’s technology.

       67.    On information and belief, one or more of the Airbus Entities have been

 on notice that they needed to take a license since at least April 2020, when Anaconda

 announced a change to Anaconda’s Terms of Service “as a response to the dramatic



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 increase in usage and adoption of Python and Anaconda among commercial users

 over the last few years” and asked “commercial users who heavily rely on our

 packaging & distribution efforts to purchase our commercial repository software.”

 Ex. A.

       68.    On information and belief, one or more of the Airbus Entities knew or

 should have known they needed a license to use Anaconda’s intellectual property

 since at least the date of the Airbus Defence March 2023 License.

       69.    On information and belief, one or more of the Airbus Entities knew or

 should have known they needed a license to Anaconda’s intellectual property since

 at least February 27, 2024, when Anaconda notified Airbus SE, the parent company

 to the Airbus Entities, to immediately cease and desist any and all current and further

 use, transmission, and/or dissemination of Anaconda’s proprietary data, and that

 failure to do so would result in action to protect Anaconda’s intellectual property

 from unlawful use.

       70.    One or more of the Airbus Entities knew or should have known they

 needed a license to Anaconda’s intellectual property since at least May 20, 2024,

 when Anaconda sent a letter to Airbus U.S. Space & Defense, Inc., Airbus Defense

 and Space, Inc., Airbus Helicopters, Inc., and Airbus DS Government Solutions,

 Inc., respectively, requesting each entity cease and desist unauthorized use of




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 Anaconda’s proprietary materials, and that failure to do so would result in action to

 protect Anaconda’s intellectual property from unlawful use.

       71.    One or more of the Airbus Entities knew or should have known they

 were violating Anaconda’s rights in the Asserted Copyright since at least January

 16, 2025, when Anaconda sent the Airbus Entities a letter identifying evidence of

 Airbus Entities’ improper acts in violation of the Asserted Copyright.

                                     COUNT I
                           Direct Copyright Infringement

       72.    Anaconda realleges and incorporates by reference the allegations set

 forth in the preceding paragraphs 1–71 as if fully set forth herein.

       73.    Anaconda owns the Asserted Copyright, which is valid and enforceable

 and protects all copyrightable elements of the Anaconda Distribution and the

 associated conda-compatible packages, including Proprietary Components that

 Anaconda’s engineers and employees created at significant effort and expense.

       74.    The Asserted Copyright was properly registered with the U.S.

 Copyright Office prior to the Airbus Entities instituting an action for declaratory

 judgment.

       75.    The Airbus Entities lack authorization, license, or permission from

 Anaconda to reproduce, prepare derivative works based on, or export the Anaconda

 Distribution, Anaconda’s associated conda-compatible packages, the Proprietary

 Components, or any other elements protected by the Asserted Copyright.

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        76.   Through the acts alleged above, one or more of the Airbus Entities have

 violated, and continue to violate, Anaconda’s exclusive rights to reproduce, prepare

 derivative works based on, and export the Anaconda Distribution and Anaconda’s

 associated conda-compatible packages, in violation of 17 U.S.C. §§ 106, 501, and

 602.

        77.   On information and belief, one or more of the Airbus Entities without

 authorization have and continue to download, install, access, and use protectable

 elements of the Anaconda Distribution and Anaconda’s associated conda-

 compatible packages, including the Proprietary Components, that Anaconda’s

 engineers and employees created at significant effort and expense.

        78.   One or more of the Airbus Entities were aware, and remain aware, that

 they have and continue to improperly download, install, access, and use, those

 protected elements of the Anaconda Distribution and Anaconda’s associated conda-

 compatible packages, including the Proprietary Components.

        79.   Airbus Entities’ violations of Anaconda’s exclusive rights were, and

 continue to be, knowing, intentional, and willful.

                                    COUNT II
                                 Breach of Contract

        80.   Anaconda realleges and incorporates by reference the allegations set

 forth in the preceding paragraphs 1–79 as if fully set forth herein.




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          81.   One or more of the Airbus Entities agreed to Anaconda’s Terms of

 Service when they registered to, used, installed, downloaded, and/or accessed the

 Anaconda Offerings.

          82.   When the one or more of the Airbus Entities agreed to Anaconda’s

 Terms of Service, the one or more of the Airbus Entities entered into a valid,

 enforceable and binding contract with Anaconda.

          83.   Anaconda performed its obligations under the Terms of Service.

          84.   The conduct described herein of one or more of the Airbus Entities,

 including but not limited to, its use, access, installation, downloading, copying, and

 mirroring of the Anaconda Distribution without Anaconda’s authorization or

 consent, resulted in a material breach of Anaconda’s Terms of Service by one or

 more of the Airbus Entities.

          85.   As a direct and proximate result of the Airbus Entities’ multiple

 breaches of its contractual obligations under Anaconda’s Terms of Service,

 Anaconda has suffered and continues to suffer harm in an amount to be proven at

 trial.

          86.   Unless enjoined by this Court, ongoing conduct by one or more of the

 Airbus Entities will cause great and irreparable harm to Anaconda, and Anaconda

 has no adequate or other remedy at law for such acts.




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                              PRAYER FOR RELIEF

       WHEREFORE, Anaconda prays for the following relief:

       A.     Judgment of infringement of the Asserted Copyright;

       B.     Judgment of breach of contract;

       C.     A permanent injunction ordering the Airbus Entities, and its officers,

 directors, members, agents, servants, employees, and attorneys, and all other persons

 acting in concert or participating with it, who receive actual notice of the injunction

 order by personal or other service to cease all acts of direct copyright infringement

 relating to the use of the Anaconda Distribution and Anaconda’s conda-compatible

 packages, including the Proprietary Components;

       D.     A permanent injunction that includes all terms necessary to prevent and

 restrain infringement of the Anaconda Distribution and Anaconda’s conda-

 compatible packages, including the Proprietary Components;

       E.     An award of actual damages and/or infringer’s profits pursuant to 17

 U.S.C. § 504(b), or in the alternative, statutory damages pursuant to 17 U.S.C. §

 504(c);

       F.     Any additional damages, including punitive or exemplary damages, as

 the Court determines is appropriate and/or to deter willful infringement;

       G.     An accounting and/or supplemental damages to account for harm

 occurring after any discovery cut-off;



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        H.     An order impounding or destroying all infringing articles pursuant to

 17 U.S.C. § 503, including, as necessary, while this action is pending;

        I.     An order awarding Anaconda prejudgment and post-judgment

 attorneys’ fees, interest, statutory costs and expenses; and

        J.     An order awarding Anaconda any other relief, in law and in equity, that

 this Court deems just and proper.


                                     JURY DEMAND

        Under Rule 38 of the Federal Rules of Civil Procedure, Anaconda demands

 trial by jury on all issues so triable.


                                                /s/ Kelly E. Farnan
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 Dated: April 7, 2025




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